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 4
 5                     IN THE UNITED STATES DISTRICT COURT
 6                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,              )
 8                                          )    2:06-cr-00441-GEB
                    Plaintiff,              )
 9                                          )
              v.                            )    RELATED CASE ORDER
10                                          )
     EFRAIN MEDINA, et al.,                 )
11                                          )
                   Defendants.              )
12   ________________________________       )
13   UNITED STATES OF AMERICA,              )
                                            )    2:11-cr-00091-WBS
14                  Plaintiff,              )
                                            )
15            v.                            )
                                            )
16   LEON BALDWIN, et al.,                  )
                                            )
17                 Defendants.              )
     ________________________________       )
18
19             On February 24, 2011, the United States of America filed a

20   “Notice of Related Cases” in which it states:

21             The [above-captioned] matters are related within
               the meaning of Eastern District of California Local
22             Rule 123. In particular, the Indictment in Case No.
               CR-S-06-441 GEB charges Efrain MEDINA and a large
23             number of defendants with a large-scale conspiracy
               to distribute and possess with intent to distribute
24             methamphetamine, heroin, MDMA and cocaine. Many of
               the defendants have pled guilty in front of Judge
25             Burrell, and some of those defendants were
               sentenced pursuant to U.S.S.G. § 5K1.1. A large
26             portion of the evidence in Case No. CR-S-06-441 GEB
               arose from wiretaps authorized by Judge Burrell.
27             The abovecaptioned case, 11-CR-0091 WBS and
               Criminal Case No. CR-S-06-441 GEB involve some of
28             the same parties and both cases involve similar
               questions of fact and law. The two matters are

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 1               therefore related within the meaning of Local Rule
                 123. In addition, the matters are related because
 2               there would be a substantial duplication of labor
                 if the actions were heard by different District
 3               Judges.
 4   (ECF No. 357, 1:27-2:13.)
 5               The above-entitled actions are related within the meaning of
 6   Local Rule 123. Under the regular practice of this court, related cases
 7   are generally assigned to the judge to whom the first filed action was
 8   assigned.     Therefore, action No. 2:11-cr-00091 is reassigned to the
 9   undersigned judge for all further proceedings, and the caption on the
10   reassigned case shall show the initials “GEB.”                 Further, any dates
11   currently set in the reassigned case are VACATED. The Clerk shall make
12   an   appropriate   adjustment    in   the    assignment   of   criminal   cases   to
13   compensate for this reassignment.
14   Dated:    February 25, 2011
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16                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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